

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-59,013-04






OSVALDO NOEL CHAPA, Relator


v.


BEXAR COUNTY DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NO. 2001CR0590 IN THE 227TH JUDICIAL DISTRICT COURT

FROM BEXAR COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court. In it, he contends that he filed an application for a writ of habeas corpus
in the 227th Judicial District Court of Bexar County, that more than 35 days have elapsed, and that
the application has not yet been forwarded to this Court.  

	 In these circumstances, additional facts are needed. The respondent, the District Clerk of 
Bexar County, is ordered to file a response, which may be made by: submitting the record on such
habeas corpus application; submitting a copy of a timely filed order that designates issues to be
investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); stating that the
nature of the claims asserted in the application filed by Relator is such that the claims are not
cognizable under Tex. Code Crim. Proc. art. 11.07, § 3; or stating that Relator has not filed an
application for a writ of habeas corpus in Bexar County. This application for leave to file a writ of
mandamus shall be held in abeyance until the respondent has submitted the appropriate response.
Such response shall be submitted within 30 days of the date of this order.



Filed: February 28, 2007

Do not publish	


